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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA
Plaintiff
vs                                       CRIMINAL 08-0242CCC
1) GILBERTO RODRIGUEZ
2) ANGEL MENDEZ
3) SUGEYL RODRIGUEZ
4) BARBARA RAMOS
5) YAMILET FAJARDO
6) MARYLIN PINEDA
7) MILDRED BAEZ
8) PEDRO PEREZ
9) CARMEN SEIN
10) RICHARD PIETRI
11) EUSEBIO MERCEDES
12) GERALDO CASTRO
13) GILBERTO MODESTO
14) ONNIS ACOSTA
15) MARILIZ SUAREZ
16) FRANCISCO FONTANEZ
17) SAMUEL ESCOBAR
18) MARTIN PERNAS
19) ANIBAL ROSSELLO
20) SONYA CASTELLANOS
21) MAXIMILIEN ESPINAL
22) MIGUEL DE AZA
23) HARRY REYES
24) LOUIS CRUZ
25) JULIO MARIN
26) GLORIA CASTRO
27) CESAR BERROA
28) RAYSA PACHECO
29) JULIO CASTRO
30) ELBA TORRES
31) GLENDA DAVILA
32) RAYMOND RODRIGUEZ
33) JOEL CASTILLO
34) YOLANDA RODRIGUEZ
Defendants
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                                         ORDER
       Having considered the Rule 29 motions of defendants (12) Geraldo Castro, (13)
Gilberto Modesto, (27) César Berroa, (28) Raysa Pacheco, (29) Julio Castro and (31)
Glenda Dávila after the conclusion of all the evidence, the same are DENIED. The Court
will address the arguments in support of dismissal of the 18 U.S.C. §1028(A) aggravated
identity theft counts of all defendants except for (29) Julio Castro as to whom these
particular charges were voluntarily dismissed by the United States. In controversy is the
“during-and-in-relation-to” element of §1028(A). Since the predicate offense of the §1028(A)
charge is mail fraud under 18 U.S.C. §1341, we turn to the relevant allegations of the
Indictment on such an offense. The scope of the scheme to defraud alleged as to each
defendant charged with mail fraud appears in the allegations set forth in pages 16- 17. Each
defendant is charged with devising a scheme, using his/her fraudulently obtained medical
license, to (1) deprive unsuspecting consumers of health care services of property and
money, (2) cause payments to be made to the individual defendant by consumers and
providers of health care services, (3) obtain professional liability insurance and (4) to issue
prescription for drugs. The duration of the scheme to defraud varies, of course, as to each
defendant and is set forth in the specific count as to each individual defendant. According
to the indictment, the duration of the scheme to defraud as to (12) Geraldo Castro lasted
from July 5, 2005 to August 1, 2007; as to (13) Gilberto Modesto from December 15, 2005
to August 1, 2007; as to (27) César Berroa, from July 22, 2004 to August 1, 2007; as to (28)
Raysa Pacheco, from March 18, 2005 to August 1, 2007; and as to (31) Glenda Dávila, from
July 1, 2003 to August 1, 2007. Next to the column of the scheme duration, the Indictment
sets forth the description of a mailing which was allegedly made during the duration of the
scheme to defraud to execute or attempt to execute the same. Each mailing is described
as to (12) Geraldo Castro, (13) Gilberto Modesto, (27) César Berroa and (31) Glenda Dávila
as a mailing of a good standing certification sent by the Puerto Rico Board of Medical
Examiners in the individual defendants’ name to the offices of SIMED in San Juan, P.R.,
SIMED being a syndicate of insurers. The dates for each of those mailings appear as
August 24, 2006 for (12) Geraldo Castro, May 23, 2006 for (13) Gilberto Modesto, August
23, 2005 for (27) César Berroa and May 14, 2007 for (31) Glenda Dávila. The mailing as
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to (28) Raysa Pacheco is described as a December 1, 2006 mailing to SIMED of documents
necessary for the renewal of her professional responsibility policy to her agents. Each
mailing is charged as part of the execution of the scheme to defraud previously mentioned
which was allegedly devised by each defendant in his/her individual count.
       The term “during,” as used in §1028(A), refers to knowingly transferring, possessing
or using, without lawful authority, a means of identification during a felony violation. The
predicate felony here is the mail fraud offense in violation of 18 U.S.C. §1341 which
occurred, according to the indictment, within the time periods indicated above as to each
defendant: (12) Geraldo Castro from July 5, 2005 to August 1, 2007; (13) Gilberto Modesto
from December 15, 2005 to August 1, 2007; (27) César Berroa, from July 22, 2004 to
August 1, 2007; (28) Raysa Pacheco, from March 18, 2005 to August 1, 2007; and (31)
Glenda Dávila, from July 1, 2003 to August 1, 2007. A particular mailing that is incident to
the scheme to defraud does not define the duration of the scheme. The mailing as to each
particular defendant occurred at some point within the span of the scheme to defraud
charged in the particular mail fraud offense. The evidence of the government supports its
contention that the scheme described in the mail fraud charges was not a one-shot event
but, rather, involved actions which were ongoing throughout periods ranging from two to four
years. These periods are charged under §1341 as the “duration” of the scheme devised by
each individual defendant.
       Regarding the phrase “in relation to” of 18 U.S.C. §1028(A), the Court in United
States v. Mobley, 618 F.3d 529 (6th Cir. 2010), found that “a broad reading of ‘during and in
relation to’ is reasonable and appropriate,” id., at p. 549, referring to that phrase in the
context of §1028(A). Focusing on the “in-relation-to” part of the statute, the Court stated that
“the identity theft must have some purpose or effect with respect to the predicate crime,” and
that “ the ‘in-relation-to’ element is met if the identity theft ‘facilitates or has the potential of
facilitating’ the predicate felony.”     Id.   The acts that are described in the individual
aggravated identity theft counts as to each particular defendant regarding the use of means
of identification can reasonably be said to have either facilitated or had the potential of
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facilitating the mail fraud as to that part of the scheme to defraud alleged in the mail fraud
offenses that relates to using a falsely obtained license to issue prescriptions.
       SO ORDERED.
       At San Juan, Puerto Rico, on May 12, 2011.




                                                  S/CARMEN CONSUELO CEREZO
                                                  United States District Judge
